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                                                      U.S. Department of Justice

                                                      Michael R. Sherwin
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      June 23, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we have previously disclosed, beginning in January 2020, the United States Attorney
for the Eastern District of Missouri has been conducting a review of the Michael T. Flynn
investigation. The enclosed document was obtained and analyzed by USA EDMO during the
course of its review. This page of notes was taken by former Deputy Assistant Director Peter
Strzok. While the page itself is undated; we believe that the notes were taken in early January
2017, possibly between January 3 and January 5. These materials are covered by the Protective
Order entered by the Court on February 21, 2018; additional documents may be forthcoming.
                                                      Sincerely,

                                                      MICHAEL R. SHERWIN
                                                      Acting United States Attorney

                                                By:         /s/
                                                      Jocelyn Ballantine
                                                      Assistant United States Attorney

Enclosure
